Appeal: 12-8052     Doc: 43        Filed: 12/06/2013 Pg: 1 of 2
                  Case 8:04-cr-00235-DKC Document 1659 Filed 12/06/13 Page 1 of 2

                                                                FILED: December 6, 2013

                              UNITED STATES COURT OF APPEALS
                                  FOR THE FOURTH CIRCUIT

                                        ___________________

                                            No. 12-8052 (L)
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, a/k/a Dobie Parker

                       Defendant - Appellant

                                        ___________________

                                              No. 13-4208
                                        (8:04-cr-00235-RWT-9)
                                        ___________________

        UNITED STATES OF AMERICA

                       Plaintiff - Appellee

        v.

        LAVON DOBIE, a/k/a Becky Parker, a/k/a Theresa Waller, Dobie Parker

                       Defendant – Appellant
Appeal: 12-8052     Doc: 43        Filed: 12/06/2013 Pg: 2 of 2
                  Case 8:04-cr-00235-DKC Document 1659 Filed 12/06/13 Page 2 of 2

                                         ___________________

                                              ORDER
                                         ___________________

                  The court denies the petition for rehearing and rehearing en banc. No judge

        requested a poll under Fed. R. App. P. 35 on the petition for rehearing en banc.

                  Entered at the direction of the panel: Judge King, Judge Gregory and Judge

        Duncan.

                                                  For the Court

                                                  /s/ Patricia S. Connor, Clerk
